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                                   4                                  UNITED STATES DISTRICT COURT

                                   5                                NORTHERN DISTRICT OF CALIFORNIA

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                                        TOTAL RECALL TECHNOLOGIES,
                                   7                                                         Case No. 15-cv-02281-WHA (SK)
                                                       Plaintiff,
                                   8
                                                v.                                           ORDER REGARDING DISCOVERY
                                   9                                                         DISPUTE
                                        PALMER LUCKEY, et al.,
                                  10
                                                       Defendants.                           Regarding Docket No. 131
                                  11

                                  12           On April 21, 2016, the parties filed a joint letter brief presenting a discovery dispute to the
Northern District of California
 United States District Court




                                  13   Court concerning documents that Plaintiff Total Recall Technologies (“TRT”) is refusing to

                                  14   produce on the grounds of attorney-client privilege. The Court HEREBY ORDERS TRT to

                                  15   provide to the Court for in camera review unredacted copies of the 100 documents that it is

                                  16   refusing to produce. In addition, with respect to the documents that TRT has clawed back, TRT

                                  17   shall provide all previously produced versions, highlighting which portions had been redacted and

                                  18   noting the dates the versions had been produced. Moreover, TRT shall provide chambers’ copies

                                  19   to the Court of the following other documents: (1) emails between Ron Igra and Micky Hevrony

                                  20   that were produced pursuant to the Court’s Order issued on April 4, 2016; (2) the complaint from

                                  21   the first action in Hawaii that Igra filed against Thomas Seidl; and (3) all other documents

                                  22   referenced by the parties in this discovery letter. TRT shall provide these documents April 28,

                                  23   2016.

                                  24           Plaintiff TRT may submit these documents for in camera review by presenting them in

                                  25   person to the Chambers of this Court (located on the 15th floor) by 5:00 p.m. or by delivering

                                  26   them in person during this Court’s regular criminal calendar at 9:30 a.m. on April 28, 2016 in

                                  27   Courtroom A.

                                  28           IT IS SO ORDERED.
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                                   1   Dated: April 22, 2016

                                   2                                       ______________________________________
                                                                           SALLIE KIM
                                   3                                       United States Magistrate Judge
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Northern District of California
 United States District Court




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